443 F.2d 24
    George JOHNSON, Petitioner-Appellee,v.Alwynn CRONVICH, Sheriff, Parish of Jefferson, State ofLouisiana and State of Louisiana, Respondents-Appellants.No. 31057 Summary Calendar.**Rule 18, 5 Cir.; see Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    June 15, 1971.
    
      Gordon K. Konrad, Gretna, La., John M. Mamoulides, Metairie, La., for respondents-appellants.
      Samuel S. Dalton, New Orleans, La., for petitioner-appellee.
      Appeal from the United States District Court for the Eastern District of Louisiana; Alvin B. Rubin, District Judge.
      Before BELL, AINSWORTH and GODBOLD, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    